Case 8:06-cr-00483-SDM-TBM Document 205 Filed 03/19/07 Page 1 of 1 PageID 433




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

      UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                            Case No. 8:06-cr-483-T-23TBM

      BARBARA BULNES,

                     Defendant.
                                              /

                                              ORDER

                     THIS CAUSE is before the court on Defendant’s Motion for Permission

      to Enter Home (Doc. 201). By this motion, the Defendant seeks permission to enter the

      premises at 7416 County Road 659, Bushnell, Florida so that she may retrieve her

      personal property. While the government has filed a notice of lis pendins against the

      property in anticipation of forfeiture proceedings as against the property, it has no

      objection to the instant motion. Upon consideration, the Motion for Permission to

      Enter Home (Doc. 201) is GRANTED. Ms. Bulnes is permitted to enter the premises at

      7416 County Road 659, Bushnell, Florida for purposes of removing her personal

      property.

                     Done and Ordered in Tampa, Florida, this 19th day of March 2007.




      Copies furnished to:
      James Preston, Assistant U.S. Attorney
      Darlene Barror, Counsel for Defendant
